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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :      CASE NO. 21-CR-92
               v.                             :
                                              :
COUY GRIFFIN                                  :
                                              :
                       Defendant.             :


 GOVERNMENT’S MOTION IN LIMINE TO INTRODUCE EVIDENCE PURSUANT

                TO FEDERAL RULES OF EVIDENCE 803(6) AND 902(11)

       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, respectfully moves in limine for admission of certain evidence pursuant to Federal

Rules of Evidence 803(6) and 902(11). This motion is based upon the files and records of the

case and the memorandum of points and authorities.

                                  FACTUAL BACKGROUND

       On January 6, 2021, as a Joint Session of the United States House of Representatives and

the United States Senate convened to certify the vote of the Electoral College for the 2020 U.S.

Presidential Election, the Defendant, along with a large group of individuals, illegally entered a

restricted area near the West Front of the United States Capitol Building. The Defendant

remained in the restricted area for several minutes, and subsequently left of his own accord.

       On January 14, 2021, the Defendant, a county commissioner for Otero County, New

Mexico, spoke at a recorded county commission meeting. He made the following statements

regarding his conduct on January 6, 2021:

       We walked down the Mall and we were gonna leave. We were in debate to leave
       or not. I wasn’t even going down to the Capitol. I knew that there was a lot of
       people that were going, but with the news that Mike Pence had just certified the
       election, that was kinda what the crowd was thinking about. But we thought, well,
       lets not leave too early, lets go ahead and see what they are doing. We walked
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       down to the Capitol and on the inaugural side when all those people all those
       Trump people got down there that had just not gotten anything necessarily from
       the President that was new, and then heard that Mike Pence had certified a
       fraudulent election, the element in the crowd was pretty elevated, I would say. But
       when they got down to the inaugural side there was some fencing up. They were
       saying you couldn’t go any further because this was being reserved for Joe Biden
       and his inauguration. You tell a million Trump supporters that are going down
       there, pretty soon that crowd just pushed through. I wasn’t anywhere in the front
       of it, I was in the back.

                                      ARGUMENT

       The United States seeks to introduce a certified business record at trial from Google

in connection with the Youtube video where the Defendant made the above statements.

The Federal Rules of Evidence provide that business records may be admitted into evidence

without a live witness if they are accompanied by a written declaration from a custodian of

the records certifying that the records were made in accordance with the requirements of

Rule 803(6) of the Federal Rules of Evidence. Fed. R. Evid. 803(6), 902(11). The video

detailed above is admissible as a business record under Federal Rule of Evidence 803(6)

because it contains records of an act, event, condition, made at or near the time by, or from

information transmitted by, a person with knowledge, that are kept in the course of a

regularly conducted business activity as a regular practice. Fed. R. Evid. 803(6); see also

United States v. Fahnbulleh, 752 F.3d 470, 478 (D.C. Cir. 2014). This video was posted

on Youtube on January 14, 2021, the same date that the meeting occurred, and Youtube

maintains videos of this kind as part of its regularly conducted business. The content of the

portion of the video the government intends to introduce, which depicts the Defendant’s

statements, are admissible under Rule 801(d)(2). Furthermore, the provided video is

accompanied by a certification that complies with Rule 902(11).

       Rule 902 of the Federal Rules of Evidence provides in pertinent part:



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               Self Authentication: The following items of evidence are self-

authenticating, they require no extrinsic evidence of authenticity in order to be admitted:



               (11) The original or a copy of a domestic record that meets the
               requirements of Rule 803(6)(A)-(C), as shown by a certification of
               the custodian or another qualified person that complies with a
               federal statute or a rule prescribed by the Supreme Court……


Fed. R. Evid. 902(11); see also United States v. Adefehinti, 510 F.3d 319, 325 (D.C. Cir.

2007)( holding admission of business records bank relied on proper when accompanied by

certificates with assertions tracking Rule 902(11)’s specifications).

       For the record mentioned above, pursuant to Rule 902(11), the Government is

hereby providing the Defendant notice of its intent to offer this record, and has previously

provided this record in discovery. As this investigation progresses, if additional records are

obtained they will be provided to the Defendant. If necessary, the Government can present

to the Court the custodian of records declarations in support of certain business records that

it will seek to have admitted in evidence. The Government reserves the right to supplement

this notice with additional business records.

                                      CONCLUSION

       For the foregoing reasons, the government respectfully requests that the Court

allow the admission of the video and certification detailed above, pursuant to Federal Rules

of Evidence 801(d)(2) and 902(11).




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                           Respectfully submitted,

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                     By:        /s/
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